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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



 MPT, Inc.                                   )      CASE NO. 1:04-cv-2357
                                             )
                       Plaintiff,            )      JUDGE PATRICIA A. GAUGHAN
                                             )
               Vs.                           )
                                             )
 Marathon Labels, Inc., and                  )
 Polymeric Converting, LLC                   )      Memorandum of Opinion and Order
                                             )
                       Defendants.           )




        INTRODUCTION

        This matter is before the Court upon the Motion of Defendants for Summary Judgment of

 Invalidity (35 U.S.C. § 112, ¶ 1) (Doc. 142). Plaintiff MPT, Inc. (“MPT”) alleges that Marathon

 Labels, Inc. and Polymeric Converting LLC (collectively “Defendants”)1 have infringed certain

 claims of U.S. Patent No. 5,417,790 (issued May 23, 1995) (the “‘790 patent”) and U.S. Patent

 No. RE 37,164 E (issued May 8, 2001) (the “‘164 patent”). Defendants seek summary judgment




   1
         Marathon Durable Labeling Systems LLC (“MDLS”) was also a
         party when this motion was filed. All claims between MDLS and
         MPT have since been dismissed. (Doc. 154).
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 that those claims are invalid pursuant to 35 U.S.C. § 112, ¶ 1.2 For the following reasons,

 Defendants’ Motion is DENIED.

          FACTS

          Defendants argue that claim terms added during prosecution of the ‘790 and ‘164 patents

 are not properly supported by the original application as required by 35 U.S.C. § 112, paragraph

 1. The specific terms at issue are “substantially permanently,” “first contents set,” “second

 contents set,” “first product,” “second product,” “another product,” “first product set,” “second

 product set” and other variations of these terms. All of the claims require that a placard is

 substantially permanently attached or affixed to an object or container. All but claims 1-3 of the

 ‘790 patent and all claims of the ‘164 patent involve some sort of product, product set or

 contents set. Example claims with some of the relevant language underlined are reproduced

 below:

          (‘790 Patent):

          4. A method of using a reusable container for products comprising:

                 a) substantially permanently affixing a placard to the container with a release
                 coated face oriented outwardly by pressing a pressure sensitive placard adhesive
                 layer against the container;

                 b) inserting a first product into the container;

                 c) at a selected one of a time prior to and a time subsequent to the first product
                 insertion step, adhering a pressure sensitive adhesive coating of a first label
                 bearing first product information to the release coating of the placard;



   2
           Three other motions were also filed. MPT’s Motion for Summary
           Judgment of Infringement (Doc. 144) is pending and will be
           addressed in a separate order for clarity. Two other motions (Doc.
           140 & 141) have been dismissed as moot. (Doc. 154).

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                d) removing the first product from the container;

                e) inserting another product into the container; and,

                f) at a selected one of a time prior to or subsequent to the another product
                insertion step, removing the first label while leaving the placard affixed to the
                container and thereafter adhering a pressure sensitive adhesive coating of a
                second label bearing second product information to the release coating of the
                placard.

        (‘164 Patent):

        1. A process for providing identifying information as to the contents of an object on such
        an object, the process comprising:

                a) substantially permanently affixing a placard to one such object with a release
                coated surface of the placard oriented outwardly;

                b) providing a first label bearing information related to a first set of object
                contents;

                c) applying the first label to the placard by securing a pressure sensitive adhesive
                coating of the first label to the placard release coating;

                d) at a selected one of a time prior to and a time subsequent to the first label
                applying step positioning a first contents set in the object;

                e) removing the first contents set from the object and replacing it with a second
                contents set; and,

                f) at a selected one of a time prior to and subsequent to the first set removal step
                removing the first label from the placard while leaving the placard affixed to the
                object and applying to the release coated surface of the placard a pressure
                sensitive surface of a second label bearing information related to contents of the
                second set.

 ‘790 patent, Claim 4; ‘164 patent, Claim 1.

        The terms at issue were incorporated into the claims as follows. None of the terms were

 in the claims of the original patent application No. 07/955,119 (the “‘119 application”). The

 ‘119 application was abandoned in favor of continuation-in-part application No. 08/292,882 (the


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 “‘882 application”). Again, none of the terms at issue were recited in the original claims of the

 ‘882 application. Substantially permanently and many of the products-related terms (e.g., first

 product, second product) were added during prosecution of the ‘882 application, which

 eventually issued as the ‘790 patent. The ‘882 application was also continued as continuation

 application No. 08/443,202 (the “‘202 application”). The remaining terms at issue from the ‘164

 patent (substantially permanently and contents-related terms) were added during prosecution of

 the ‘202 application. The ‘202 application matured into U.S. Patent No. 5,628,858, which

 eventually reissued as the ‘164 patent.

        STANDARD OF REVIEW

        Summary judgment should be granted “if the pleadings, depositions, answers to

 interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

 genuine issue of material fact and that the moving party is entitled to judgment as a matter of

 law.” Fed. R. Civ. P. 56(c). Pursuant to the presumption of validity of 35 U.S.C. § 282, a party

 challenging an issued patent’s validity must provide clear and convincing evidence that the

 patent is invalid. Univ. of Rochester v. G.D. Searle & Co., 358 F.3d 916, 920 (Fed. Cir. 2004)

 (applying the clear and convincing standard to a written description challenge). “[I]n deciding a

 motion for summary judgment, ‘[t]he evidence of the nonmovant is to be believed, and all

 justifiable inferences are to be drawn in his favor.’” M. Eagles Tool Warehouse, Inc. v. Fisher

 Tooling Co., Inc., 439 F.3d 1335, 1339 (Fed. Cir. 2006) (quoting Anderson v. Liberty Lobby,

 Inc., 477 U.S. 242, 255 (1986)).

        DISCUSSION

        Defendants argue that the ‘790 and ‘164 patents are invalid because the amended claims


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 fail to comply with 35 U.S.C. § 112, first paragraph, which states as follows:

        The specification shall contain a written description of the invention, and of the
        manner and process of making and using it, in such full, clear, concise, and exact
        terms as to enable any person skilled in the art to which it pertains, or with which
        it is most nearly connected, to make and use the same, and shall set forth the best
        mode contemplated by the inventor of carrying out his invention.

 35 U.S.C. § 112, ¶ 1 (emphasis added).

        This paragraph embodies three distinct requirements of written description, enablement

 and best mode. Univ. of Rochester, 358 F.3d at 921. At issue here is the written description

 requirement. As applied to this case, this means that the language of the later-amended claims

 must find appropriate support in the original specification of the ‘882 application.3 That

 specification must include sufficient information to show that the inventor possessed the later-

 claimed invention at the time of the original disclosure.4 Pandrol USA, LP v. Airboss Railway

 Prods., Inc., 424 F.3d 1161, 1165 (Fed. Cir. 2005). “The purpose of the written description


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          As MPT notes, the written description requirement is currently a
          “hot topic” in the Federal Circuit, as expressed in a number of
          dissents from refusals to review the issue en banc. E.g.,
          Lizardtech, Inc. v. Earth Resource Mapping, Inc., 433 F.3d 1373
          (Fed. Cir. 2006); Univ. of Rochester v. G.D. Searle & Co., 375
          F.3d 1303 (Fed. Cir. 2004). These dissents focus on two main
          issues. First, a recent line of cases applies the written description
          requirement to original claims in addition to later-amended claims.
          Second, some judges argue that a heightened standard has been
          applied to biotechnology inventions. Neither of these
          complications appear here. This is a classic case of alleged new
          matter in later-amended claims, an issue courts have been
          addressing at least since In re Ruschig, 379 F.2d 990 (C.C.P.A.
          1967).
   4
          The parties do not dispute that the specification being considered is
          the specification submitted with the ‘882 continuation-in-part
          application. Nor do they dispute that the specific claim language
          at issue was added after the ‘882 application was filed.

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 requirement is to prevent an applicant from later asserting that he invented that which he did not;

 the applicant for a patent is therefore required to ‘recount his invention in such detail that his

 future claims can be determined to be encompassed within his original creation.’” Amgen Inc. v.

 Hoechst Marion Roussel Inc., 314 F.3d 1313, 1330 (Fed. Cir. 2003) (quoting Vas-Cath Inc. v.

 Mahurkar, 935 F.2d 1555, 1561 (Fed. Cir. 1991)).

        Although generally stated as the “possession” test, a showing of actual possession at the

 time of the original disclosure is not enough; rather, “the written description requirement is

 satisfied by the patentee's disclosure of ‘such descriptive means as words, structures, figures,

 diagrams, formulas, etc., that fully set forth the claimed invention.’” Enzo Biochem, Inc. v.

 Gen-Probe Inc., 323 F.3d 956, 969 (Fed. Cir. 2002) (quoting Lockwood v. American Airlines,

 107 F.3d 1565, 1572 (Fed. Cir. 1997)). In other words, the purpose of the test is to demonstrate

 possession of the claimed invention and possession is proved by full disclosure of what is

 claimed.5 Enzo, 323 F.3d at 969. “The possession test requires assessment from the viewpoint


   5
          MPT occasionally describes the written description test as whether
          “one skilled in the art would recognize what is claimed.”
          Defendants are correct that this shorthand definition is not
          accurate. It is possible to recognize what is claimed without
          recognizing from the original specification that the inventor
          possessed what is claimed:

                  The question is not whether a claimed invention is
                  an obvious variant of that which is disclosed in the
                  specification. Rather, a prior application itself must
                  describe an invention, and do so in sufficient detail
                  that one skilled in the art can clearly conclude that
                  the inventor invented the claimed invention as of
                  the filing date sought.

          Turbocare v. Gen. Elec. Corp., 264 F.3d 1111, 1119 (Fed. Cir.
          2001) (quoting Lockwood, 107 F.3d at 1572).

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 of one of skill in the art.”6 Pandrol, 424 F.3d at 1165.

        Substantially Permanently

        The words substantially permanently do not appear in the specification. However, the

 claimed subject matter need not be stated in haec verba. Univ. of Rochester, 358 F.3d at 923.

 MPT points to excerpts from the patents as providing a written description of substantially

 permanently attaching a placard. “The . . . placard 12 is applied to a container such that the

 adhesive 26 secures the placard 12 firmly to the container 28 . . . .” The specification also

 describes a “permanent pressure sensitive adhesive” of a label as providing a strong bond that

 will “rip or tear” when removed.

        In many of the claims at issue, the placard is substantially permanently attached to a

 container with a pressure sensitive adhesive. On Defendants’ suggestion,7 the Court referred to

 industry definitions of a permanent adhesive known to those of ordinary skill in the art in

 formulating its claim construction of permanently8 as “affixed to an ‘object’ or ‘container’ such



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          Defendants are correct that the test is not whether a person of
          ordinary skill in the art would understand what is meant by the
          claims. However, as the quoted language states, whether the
          specification provides an adequate description to demonstrate
          possession of the claimed subject matter is determined from the
          perspective of one of ordinary skill in the art.
   7
          Defendants argued the following: “The specification does not use
          the term with respect to placards. However it refers to labels
          having ‘so-called’ permanent adhesive backing that attach to the
          release coating of the placard. . . . The use of the phrase ‘so-
          called’ indicates that the term ‘permanent’ should be given its
          meaning in the art. . . . [T]he meaning of the term in the art of
          labeling supports Defendants’ definition.”
   8
          The parties did not seek claim construction for “substantially
          permanently.”

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 that a placard permanently attached or affixed to the substrate cannot be removed without

 damaging the placard or the ‘object’ or ‘container.’” Accordingly, MPT posits that its

 possession of the concept of substantially permanently affixing a placard is proved by the

 specification’s recitation of “securely” or “firmly” attaching the placard using an adhesive and of

 “permanent” adhesives, combined with the knowledge of the properties of those adhesives in the

 art.

        Defendants argue that the cited specification language does not support MPT’s later

 inclusion of substantially permanently in the claims. First, the specification only refers to a

 permanent adhesive with respect to the labels that are placed on the release coated face of the

 placard. Second, Defendants argue that the words securely or firmly do not describe the concept

 of substantially permanently attaching the placard.9 Third, the fact that adhesive is used to attach

 the placard to a container does not explain whether the placard adhesive is permanent or

 removable. In sum, “[b]ecause there is no mention of permanent, temporary or removable

 attachment of the placard to an object or a container or of any technique or conditions by which

 the placard is to be attached in the specifications, Defendants are entitled to summary judgment

 that the patents-in-suit are invalid under 35 U.S.C. § 112, first paragraph, on their face.”

        MPT believes that Defendants are improperly attempting a word-to-word comparison

 between the original specification and the claim language. It argues that a person of ordinary

 skill in the art would understand from the specification that it possessed and described

 substantially permanently. For example, a specific example may provide a written description


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          Defendants also discuss language from the abstract and a
          description of the placard as reusable. Because MPT has not relied
          on this language, the Court need not discuss it in detail.

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 for broader claim language as long as the equivalence is recognized in the art. See In re Smythe,

 480 F.2d 1376, 1384 (C.C.P.A. 1973) (explaining that a specification of a one-pound “lead

 weight” counterbalance could support a one-pound “weight,” “metal weight,” or even an

 “obviously art-recognized, ‘weight’ as a pound of feathers”). Similarly, a broad specification

 can support narrower claims. See Union Oil Co. v. Atlantic Richfield Co., 208 F.3d 989, 997

 (Fed. Cir. 2000). However, “generalized language may not suffice if it does not convey the

 detailed identity of an invention.” Univ. of Rochester, 358 F.3d at 923. Again, this is based in

 part on the level of ordinary skill in the relevant art. See id. (explaining that “in the nineteenth

 century, use of the word ‘automobile’ would not have sufficed to describe a newly invented

 automobile; an inventor would need to describe what an automobile is, viz., a chassis, an engine,

 seats, wheels on axles, etc.”).

        In addition to the specification, the parties have presented other evidence related to the

 written description issue:

 •       On the one hand, MPT’s expert Prahl testified that substituting substantially permanently
        for firmly would not “have changed anything.” On the other hand, Defendants point out
        that Prahl recognized differences between the two terms and also referred to substantially
        permanently as vague.

 •      MPT claims support for its position in the testimony of Defendants’ expert Stempel. He
        essentially testified that substantially permanently has a meaning in line with that adopted
        by the Court. Defendants correctly point out that the issue is not whether Stempel (or a
        person of ordinary skill in the art) understands the claims, but whether possession of the
        subject matter of the claims is demonstrated by the specification. The cited testimony
        does not link the specification to the claims and thus does not address this issue.

 •      The parties also dispute why the claim language at issue was added during prosecution.
        Defendants argue that the reason was to avoid prior art. MPT argues that it was merely
        clarifying the claim language.

 •      The parties have presented conflicting evidence as to whether it is appropriate to use the
        reference to the permanent adhesive of the label as providing a written description for

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          substantially permanently. MPT presents an industry catalog that recommends using
          permanent adhesive for applications involving permanent attachment. Defendants
          counter with the testimony of Michael Kennedy of MPT. In that testimony he recognized
          that adhesives classified as either permanent or removable do not always exhibit those
          properties in particular applications. Defendants also provide a video that they believe
          demonstrates that “placards made with removable adhesives allow firm and secure
          attachment.”

          After considering the specification and other evidence in the light most favorable to

  MPT, it is apparent that reasonable jurors could conclude that Defendants have not provided

  clear and convincing evidence that the patent claims are invalid for a lack of written description.

  The specification references firmly securing the placard to the container with an adhesive. A

  number of the claims include substantially permanently attach the placard using an adhesive. A

  permanent adhesive is recognized in the specification as a type of adhesive and as noted in the

  Court’s Markman order the properties of a permanent adhesive are known to one of ordinary

  skill in the art.

          In sum, the evidence is at best inconclusive. It is not necessary to describe substantially

  permanently in haec verba or for the language from the specification to have the exact same

  scope as the claim language. Accordingly, while the testimony and other evidence arguably

  demonstrate differences between terms such as firmly and substantially permanently, the Court

  finds that those differences are inadequate for Defendants to meet their burden on summary

  judgment.

          Contents, Product, Products Set and Variants

          MPT generally argues that the entire purpose of the patent is to provide a system for

  changing labels of a reusable container when its contents change. The title of both patents is

  “Label systems for reusable containers and the like.” MPT has provided a dictionary definition


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  that describes “content” as “something contained” and a “container” as something “that

  contains.” MPT posits that this is in line with the Court’s definition of a container as “a

  receptacle for holding items.”

         MPT also refers the Court to language in the “Background of the Invention” sections of

  the specifications that describes the prior art that the patents are intended to improve upon as

  follows:

         Reusable containers often require a labeling system to identify the contents and
         status of each container. The label provides information such as the origin and
         destination of the contents, batch number, part number, serial number, quantity,
         and description.

         In one proposed labeling system, a transparent envelope is secured to the
         container. A label is placed inside the envelope where it can be viewed. When
         the status of the container changes such as when its content is changed, a new
         label is substituted in the envelope.

         With respect to this passage, MPT points out that in his supplemental expert report

  Defendants’ expert Stempel explained that “the ‘790 patent and the ‘164 patent, at col. 1,

  acknowledges that it was well known in the labeling art to use reusable containers with labels

  that are changed when the contents of the containers are changed.”

         MPT argues that its improved labeling method was to be used in the same application. In

  other words, under MPT’s patents the ultimate use of the reusable containers to hold contents

  that are changed, added and replaced remains the same. MPT’s improvement was in the method

  of labeling the containers to indicate those changing contents.

         Defendants respond that “the lengthy limitations” do not appear in the specification. In

  this regard, Plaintiff’s expert Prahl testified that he did not see anything in the specification that

  refers to the product set changing and that the contents set language does not appear in the


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  patent. However, as has already been explained, the words in the claims need not appear word

  for word in the specification. Nor are the terms all that lengthy or complicated. Rather, they

  utilize common and understandable words such as “first,” “second,” “another,” and “set” to

  modify “content” or “product.” When contents are changed as described in the specification,

  there can be little doubt which is the first contents set or the second contents set.

         Defendants’ main evidence as to whether the specification provides a written description

  of the claim language is the Stempel report. Without any explanation, Stempel stated that he did

  not understand “first contents set” and “second contents set” and that he could not understand

  what is meant by positioning a “first contents set” in a container.

         Considering the specification language and evidence in the light most favorable to MPT,

  the Court concludes that a reasonable juror could find that Defendants have not met their burden

  as to contents and its variants. The specification discusses prior art methods of labeling reusable

  containers when their contents change. Whether referred to as a “first,” “second,” or “another,”

  “contents,” or a “contents set,” it is clear that the specification supports possession of the concept

  of those contents being added, removed and replaced in the container.

         MPT’s arguments as to “products” and its variants are quite similar. MPT’s expert Prahl

  stated that the patent “is directed to materials handling and labeling” or “commercial materials

  handling.” The specification explains that the contents have an “origin and quantity, . . . batch

  number, part number, serial number, quantity, and description.” From this MPT concludes that

  the contents represented by the labels are “produced.”

         Defendants contend that “these words clearly do not describe the claim term[]” product

  and its variants. Such conclusory statements are not helpful. To meet their burden, Defendants


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  must explain why batch number, part number, serial number, quantity and description would not

  reference products held inside the container.

         Defendants next argue that the same specification language cannot provide the written

  description for more than one claim term and that if “‘contents’ would suffice” there was no

  reason to use the term products. They have not cited any authority for either of these

  propositions. In any event, it does not appear that MPT is relying on the same language to

  describe contents and products. According to MPT, products is a subset of contents with

  identifying characteristics such as batch and part number.

         Defendants also note that the claim terms were added after an initial rejection.

  Defendants thus argue that “the claims requiring a ‘first product set,’ ‘second product set,’ ‘first

  product’ or ‘another product’ were merely an afterthought intended to distinguish the claims

  from [a prior art patent] rather than to protect anything disclosed in the application.” MPT

  correctly responds that an applicant is allowed to add limitations to claims during prosecution as

  long as the claim language is supported by the specification.

         Finally, Defendants note that Prahl could not identify language in the specification that

  mentioned “a first product set” and that he could not explain where these limitations were

  described in the specification. Although this testimony does have some weight, it is not

  adequate to meet Defendants’ burden on summary judgment. The specification clearly describes

  product-related indicia that are used to describe the changing contents of the reusable container.

  A person of ordinary skill in the art could understand from this language that the applicant

  possessed and described products and its variants being added, changed and replaced within the

  container.


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        CONCLUSION

        For the foregoing reasons, Defendants’ Motion is DENIED.



               IT IS SO ORDERED.



                                   /s/ Patricia A. Gaughan
                                    PATRICIA A. GAUGHAN
                                    United States District Judge

  Dated: 7/14/06




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